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                 EXHIBIT 3
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·1· · · · · · · ·IN THE UNITED STATES DISRICT COURT
· · · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2· · · · · · · · · · · · ATLANTA DIVISION

·3

·4· ·UNITED STATES OF AMERICA,
· · · · · · · · · · · · · · · · · )CIVIL ACTION
·5· · · · · · ·Plaintiff,· · · · ·)NO. 1:16-cv-03088-ELR
· · · · · · · · · · · · · · · · · )
·6· ·vs.· · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )
·7· ·STATE OF GEORGIA,· · · · · · )
· · · · · · · · · · · · · · · · · )
·8· · · · · · ·Defendants.· · · · )
· · · · · · · · · · · · · · · · · )
·9· ·- - - - - - - - - - - - - -· )

10

11· · · · · · · · · · ·VIDEOTAPE DEPOSITION OF

12· · · · · · · · · · CASSANDRA HOLIFIELD, Ph.D.

13

14· · · · ·Thursday, December 1, 2022, 9:14 a.m., EST

15

16

17

18

19· · · · · · · HELD AT:

20· · · · · · · Parker Poe
· · · · · · · · 1075 Peachtree Street, N.E., Suite 1500
21· · · · · · · Atlanta, Georgia· 30309

22· · · · ---------------------------------------------

23
· · · · · · · ·WANDA L. ROBINSON, CRR, CCR, No. B-1973
24· · · · · ·Certified Shorthand Reporter/Notary Public

25


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·1· · · · A· · It depends on whether the -- the current
·2· ·QBE funding formula, the way that it's currently set
·3· ·up is at a lower rate than it is for GNETS right
·4· ·now.· So it would mean reduce services rather than
·5· ·appropriate services or more services, right now,
·6· ·unless they really look at revising how that funding
·7· ·formula is looked at.
·8· · · · · · ·So an even swap would not be an even swap.
·9· · · · Q· · So your expectation is that moving from a
10· ·state grant formula to a QBE formula would result in
11· ·GNETS programs losing money?
12· · · · A· · Yeah, money -- equal services, yes.
13· · · · · · ·And right now we need more services.
14· · · · · · ·MS. GARDNER:· I would like to have this
15· · · · document marked as Plaintiff's Exhibit 659.
16· · · · · · ·(WHEREUPON, Plaintiff's Exhibit-659 was
17· · · · ·marked for identification.)
18· ·BY MS. GARDNER:
19· · · · Q· · You've been handed what's been marked as
20· ·Plaintiff's Exhibit 659.· This is an email thread
21· ·between you and Vickie Cleveland and Lakesha
22· ·Stevenson, from June 2019, regarding GNETS Continuum
23· ·of Services, Student Level Record & Funding.
24· · · · A· · Uh-hum.· (Affirmative.)
25· · · · Q· · This document is Bates-stamped GA00347596.


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·1· · · · · · ·Do you recognize this?
·2· · · · A· · Yes.
·3· · · · Q· · I want to start at the bottom of this
·4· ·email thread, which is the first in time email.· So
·5· ·direct your attention to the second-to-last page.
·6· · · · · · ·This is your email to Vickie and Lakesha
·7· ·on June 6, 2019?
·8· · · · A· · Uh-hum.· (Affirmative.)
·9· · · · Q· · In that email, Ms. -- the third sentence
10· ·in, you say:· "As you know, it's the end of the year
11· ·and I'm in the process of making sure that all of my
12· ·NM GNETS students appear on each of my respective
13· ·district's student level record reports prior to our
14· ·superintendent signing off so we will receive the
15· ·correct amount of funding.· I'm emailing you now
16· ·because I inquired about one of my missing students
17· ·on one of my district's student level record
18· ·reports.· We've been providing consultative services
19· ·for this student and I was told since we only
20· ·provide 2 hours of consultative services to the
21· ·student a month, he will not be coded 4 and we will
22· ·not receive funding for him.· Will you please let me
23· ·know how many hours a month of GNETS consultative
24· ·supports earn funding?"
25· · · · A· · Uh-hum.· (Affirmative.)


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·1· · · · Q· · Is this another example of the funding
·2· ·concern that we discussed earlier with GNETS sort of
·3· ·difficulty with providing services in general
·4· ·education environments because of the lack of
·5· ·receiving funding for that?
·6· · · · A· · Yes.
·7· · · · Q· · Moving down, you say, and this is the
·8· ·sentence that begins with "However."
·9· · · · · · ·You say:· "As we continue to provide more
10· ·intensive therapeutic support services, we have more
11· ·students returning to their LRE which is amazing and
12· ·is what we want to do.· However, our enrollment
13· ·drops and the most significantly mentally ill and
14· ·behaviorally challenged students remain, while our
15· ·budgets continue to shrink as we help students
16· ·transition to their new LRE."
17· · · · A· · Uh-hum.· (Affirmative.)
18· · · · Q· · This was an effect that you had been
19· ·seeing at the North Metro GNETS program?
20· · · · A· · Yes.
21· · · · Q· · And that's about your funding is tied to
22· ·enrollment?
23· · · · A· · It's tied to enrollment, but the students,
24· ·as we do a better job providing therapeutic
25· ·supports, our numbers shrink, but the mental health


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·1· ·issues of the students that remain are greater.· So
·2· ·numbers don't equate to the individual needs that
·3· ·the students have.· And that's currently the way I
·4· ·perceive that the budget is set up.
·5· · · · Q· · Ms. Cleveland responded to your email on
·6· ·June 7, 2019, right?
·7· · · · A· · Yes.
·8· · · · Q· · And looking towards the bottom of her
·9· ·response, where she says, "The GNETS continuation of
10· ·services flow chart."
11· · · · A· · Yes.
12· · · · Q· · She says:· "The GNETS continuation of
13· ·services flow chart provides guidance on consult
14· ·services.· There is a request for consultation form
15· ·in the packet.· NM should follow this protocol.
16· ·Several our sites have their current staff provide
17· ·support for students that are reintegrating or they
18· ·provide observations that are needed.
19· · · · · · ·"NM has several support staff and the team
20· ·may need to take a look at how these staff might
21· ·better provide consult services.· We do have
22· ·programs that are providing these service with less
23· ·staff.· Consult services are mostly support for
24· ·teachers, not direct supports to students from my
25· ·observations."


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·1· · · · · · ·What did you understand Ms. Cleveland to
·2· ·be saying to you?
·3· · · · A· · To figure it out.· I mean basically.                       I
·4· ·just felt like, you know, she was just saying I
·5· ·needed to look to see how I could use the new GNETS
·6· ·funding State Board Rule to provide those services
·7· ·with the current staff that I have, which is pulling
·8· ·from the staff that I have with the most mental
·9· ·health needs.
10· · · · · · ·So, again, from my perspective, you're
11· ·robbing Peter to pay Paul.· If you have the most
12· ·significant kids in the program because of their
13· ·mental health and behavioral challenges, but then
14· ·we're also wanting to provide those services to the
15· ·kids in the LRE so we won't have recidivism, them
16· ·coming back and getting those teachers trained, you
17· ·can't to both with the same person effectively.
18· · · · Q· · And to be clear, here you were talking
19· ·about providing direct services to students in the
20· ·LRE?
21· · · · A· · Yes.· So it was a combination of providing
22· ·direct services to the students and also the staff
23· ·because we're not going to be there, we being GNETS,
24· ·can't be in more than one place.· But if the child
25· ·is going to be successful in the LRE, we need to


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·1· ·equip the teachers with the skill set that we have
·2· ·where the child was successful.
·3· · · · · · ·So it's kind of a balance in training the
·4· ·student but also training the teachers as well to
·5· ·support them.
·6· · · · Q· · And you said the concerns that you raised
·7· ·in prior emails and in this one have not been
·8· ·addressed to your satisfaction?
·9· · · · A· · No.
10· · · · · · ·MS. GARDNER:· I'm going to ask that this
11· · · · document be marked as Plaintiff's Exhibit 660.
12· · · · · · ·(WHEREUPON, Plaintiff's Exhibit-660 was
13· · · · ·marked for identification.)
14· ·BY MS. GARDNER:
15· · · · Q· · You have been handed what's been marked as
16· ·Plaintiff's Exhibit 660.· This is an email from you
17· ·to Nakeba Rahming and Vickie Cleveland, dated
18· ·February 14, 2018, with the subject:· "FW:
19· ·Independence High School Location."
20· · · · · · ·This is Bates-stamped GA00201024.
21· · · · · · ·Do you recognize this?
22· · · · A· · Yes.
23· · · · Q· · In this email you say to Ms. Cleveland and
24· ·Ms. Rahming:· "I want to keep in the loop regarding
25· ·the facilities complaints I've been receiving our


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